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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )         Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )
                                          )         JOINT EXHIBIT 002
v.                                        )
                                          )
TARGET CORPORATION,                       )         Judge:   Hon. Laurel Beeler
                                          )
   Defendant.                             )
                                          )
_________________________________________ )
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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )      Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )      STIPULATED UNDISPUTED FACTS
                                          )
v.                                        )
                                          )
TARGET CORPORATION,                       )      Trial Date: February 26, 2024
                                          )
   Defendant.                             )
_________________________________________ )
            Case 3:21-cv-08458-LB Document 166
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       The parties agree that the following facts should be admitted into evidence, and the jury should

consider them as evidence when considering its verdict in this case.

       1.      On July 8, 2021, Mr. Jackson was a customer at the Target Corporation retail store.

       2.      An employee of Target, Ms. Smith, was working at the Alameda Target on July 8, 2021.

       3.      On that date, Ms. Smith was pushing a shopping cart as part of her employment, and

struck Mr. Jackson in the coffee shop inside the Alameda Target.

       4.      No one other than Ms. Smith was in contact with the shopping cart just before or during

its impact with Mr. Jackson.

       5.      Mr. Jackson was not intentionally hit by Target employee Ms. Smith.

       6.      Neither party has retained or disclosed any expert in this case.




                                                     1                        Case No. 3:21-cv-08458-LB
                                                                   STIPULATED UNDISPUTED FACTS
